Case 4:16-cv-00317-JED-JFJ Document 43 Filed in USDC ND/OK on 04/24/18 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1.    TARA HYSLOP,                       )
                                           )
               Plaintiff,                  )      Civil Action No. 16-cv-317-JED-JFJ
                                           )
  vs.                                      )      (District Court, Creek County,
                                           )      Oklahoma Case No. CJ-2016-62)
  2.    THE TRAVELERS HOME AND             )
        MARINE INSURANCE                   )
        COMPANY,                           )
                                           )
               Defendant.                  )

                     STIPULATION OF VOLUNTARY DISMISSAL
                     PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

        IT IS HEREBY STIPULATED AND AGREED by and between Tara Hyslop and

  The Travelers Home and Marine Insurance Company and/or their respective counsel that

  Tara Hyslop voluntarily dismisses her claims against Grinnell Mutual Reinsurance

  Company, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

  Respectfully submitted,

  s/ Timothy P. Clancy                         s/ Amy Bradley-Waters
  Timothy P. Clancy, OBA #14199                D. Lynn Babb, OBA #392
  Clancy & Thompson, PLLC                      Amy Bradley-Waters, OBA # 16480
  5801 E. 41st Street, Suite 710               Pierce Couch Hendrickson Baysinger &
  Tulsa, OK 74135                              Green, LLP
  Telephone: (918) 494-0007                    P.O. Box 239
  Facsimile: (918) 515-7555                    Tulsa, OK 74101
  Attorney for Plaintiff                       Telephone: (918) 583-8100
                                               Facsimile: (918) 583-8107
                                               abradley-waters@piercecouch.com
                                               Attorneys for Defendant
